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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-CR-20087-ALTONAGA

  UNITED STATES OF AMERICA,

        Plaintiff,
  vs.

  DIANALIS MOLINA NODA

        Defendant.
  ________________________________/


     MOTION TO COMPEL VACCINATION STATUS OF GOVERNMENT
   WITNESSES AND TO PRECLUDE UNVACCINATED WITNESSES FROM
                         TESTIFYING

        Comes now, the Defendant, DIANELIS MOLINA NODA, by and through

  undersigned counsel and motions this Court for an order requiring the government

  to provide the Court and the defense with the vaccination status of all government

  witnesses. Moreover, the defendant motions this Court for an order precluding all

  unvaccinated witnesses from testifying at trial.

        At least one Judge in the Southern District of Florida has recently refused to

  proceed with a pending jury trial (of a client in custody for 18 months who is

  demanding a speedy trial), and has cited the lack of vaccinations by the government

  witnesses as one of the reasons for continuing the trial (See USA v. John Arthur

  Sanders, 20-CR-20043-FAM, DE 69). Another Judge in the Southern District of

  Florida recently continued a trial ready case after the defense filed a Motion to

  Continue the Trial based solely on the surge of COVID-19 cases in the community.
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  (See USA v. Jeremy Gassett, 20-CR-60127-WPD, DE 44 & 47). This Court, however,

  is forging ahead with a jury trial of an out of custody pregnant unvaccinated

  defendant, who is not requesting a speedy trial. Whether a witness appearing in the

  courtroom is vaccinated or not should be of vital importance to this Court, especially

  given the current surge in the coronavirus pandemic due to the Delta variant. Trying

  the cases of defendants who have been in custody for over a year should also be the

  priority of this Court.

        As grounds for said motion the defendant alleges the following: (a) the defense

  is concerned about the health of the defendant, her baby, defense counsel, prospective

  jurors and all of the participants in the upcoming jury trial; (b) the defendant is not

  vaccinated while the defense attorneys are both vaccinated; (c) the defendant is

  pregnant; (d) the Centers for Disease Control and Prevention (CDC) state that

  “although the overall risk of severe illness is low, pregnant people are at a higher risk

  for severe illness from COVID-19 when compared to non-pregnant people”

  (www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/pregnant-people.html);

  (e) the CDC further states that “pregnant and recently pregnant people are more

  likely to get severely ill from COVID-19 compared to non-pregnant people” and

  “severe illness means that a person with COVID-19 may need hospitalization,

  intensive   care    or    a   ventilator   or   special   equipment    to   help   them

  breathe.(www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/pregnant-

  people.html#anchor_1614966846976); (f) the delta variant is now the predominant

  strain of the virus in the United States and is a more contagious version of COVID-
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  19,   in     fact        it   is    nearly    twice   as   contagious   as   previous     variants

  (www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html);                (g)     the    delta

  variant is of special concern for the unvaccinated - “the greatest risk of transmission

  is among unvaccinated people who are much more likely to contract, and therefore

  transmit        the           virus.”        (www.cdc.gov/coronavirus/2019-ncov/variants/delta-

  variant.html); (h) the seven day average COVID-19 positivity rate in Miami-Dade

  County              as             of        August        11,      2021        is            14.15%

  (www.miamidade.gov/global/initiatives/coronavirus/home.page); and (i) the defense

  does not consent to the jurors and/or witnesses wearing facial masks which cover the

  facial expressions of the jurors and/or witnesses while testifying during trial.

        In order to avoid creating a healthcare emergency here in Miami-Dade County,

  the Court should be mindful of what is occurring in classrooms throughout the state

  of Florida. In recent weeks public schools in Palm Beach and Brevard County

  returned to in person learning with disastrous consequences. Within two days of Palm

  Beach County opening schools to in person learning, 440 students were forced to

  quarantine (www.npr.org/2021/08/12/1027222426/palm-beach-florida-school-district-

  440-students-quarantine-covid). Just days after opening schools to in person

  learning, Brevard County had more than 470 new COVID-19 cases among teachers

  and        students,          and       approximately      1060    people     in      quarantine.

  (www.cnn.com/2021/08/13/us/brevard-county-school-florida-covid-cases-

  quarantines/index.html). Defense counsel believes what is occurring in the Florida

  public school setting, is an indicator of what will occur in the public courtroom setting
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  if this Court insists on proceeding to trial on August 19, 2021.

        In order to assure the safety of the defendant, counsel, jurors and all parties

  involved in the upcoming jury trial, the defense moves for an order requiring the

  government to provide the vaccination status of each witness it intends to call as a

  witness at trial. Moreover, the defendant seeks to preclude unvaccinated witnesses

  from testifying at the upcoming trial. Defense counsel has consulted with the

  government who advised that they presently do not have the information requested

  by defense counsel. Defense counsel further requested that the government ascertain

  the vaccination status of its witnesses and provide this information to the defense.

  The government’s response was the following: “If you believe filing this motion is

  appropriate we will respond to the Court and follow the Judge’s ruling.” As of the date

  of the filing of this motion, the government has not provided the defense with the

  information requested.

        The defense does believe it is necessary to file this motion in order to protect

  the health and safety of the jurors, the parties and all other participants in the

  upcoming trial. The defense does not want unvaccinated individuals, whether they

  be witnesses, jurors or parties to the case, getting sick and infected with COVID-19.

  Defense counsel does not want to be forced to quarantine away from his family if he

  has a close contact with someone testing positive or himself tests positive for

  COVID-19. The defense further believes bringing unvaccinated individuals into the

  courtroom creates a risk of infection for everyone inside the courtroom. For the sake

  of judicial economy and efficiency this Court is needlessly placing us all at risk.
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        Accordingly, the defense requests an order requiring the government to

  provide the vaccination status of each witness it intends to call at trial, and an

  order precluding all unvaccinated witnesses from testifying in the upcoming trial.



                                          Respectfully submitted,

                                          MICHAEL CARUSO
                                          FEDERAL PUBLIC DEFENDER

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                          CERTIFICATE OF SERVICE

        I HEREBY certify that on August 16, 2021, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify

  that the foregoing document is being served this day on all counsel of record or

  pro se parties identified in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                        /s/ Christian Dunham
